 8:05-cr-00144-JFB-FG3              Doc # 48   Filed: 09/07/05       Page 1 of 1 - Page ID # 115



                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                      )              Case No. 8:05CR144
                                               )
                       Plaintiff,              )
                                               )
       v.                                      )                       ORDER
                                               )
ELVIS PATRICK HENRY,                           )
                                               )
                       Defendant.              )


       IT IS ORDERED that, on the government's unopposed oral motion, jury trial for the
defendant, Elvis Patrick Henry, is rescheduled before the undersigned in Courtroom No. 3, Roman
L. Hruska U.S. Courthouse, 111 South 18th Plaza, Omaha, Nebraska, on October 3, 2005, at 8:30
a.m. Since this is a criminal case, the defendant must be present, unless excused by the court.
If an interpreter is required, one must be requested by the plaintiff in writing five (5) days in advance
of the scheduled hearing.
       The ends of justice will be served by granting the government's request for a continuance
and outweigh the interests of the public and the defendant in a speedy trial. The additional time
arising from the date of trial to the newly scheduled trial date, namely, September 12, 2005,
through October 3, 2005, shall be deemed excludable time in any computation of time under the
requirement of the Speedy Trial Act, taking into consideration due diligence of counsel and the
novelty and complexity of this case, and the failure to grant additional time might result in a
miscarriage of justice. 18 U.S.C. § 3161(h)(8)(A) & (B).
       DATED this 7th day of September, 2005.
                                               BY THE COURT:



                                               s/ Joseph F. Bataillon
                                               JOSEPH F. BATAILLON
                                               United States District Judge
